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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                            CASE NO.: 1:05cr40-SPM/AK

YUNIER LIMA-SUAREZ,

           Defendant.
______________________________/

                       ACCEPTANCE OF GUILTY PLEA

      Pursuant to the Report and Recommendation of the United States

Magistrate Judge, to which there have been no timely objections, and subject to

the Court’s consideration of any Plea Agreement pursuant to Fed. R. Crim. P.

11(e)(2), the plea of guilty of the defendant, YUNIER LIMA-SUAREZ, to Count

One of the superseding indictment is hereby ACCEPTED. All parties shall

appear before this Court for sentencing as directed.

      DONE AND ORDERED this 26th day of May, 2006.


                                    s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
